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 VIA ECF
 Honorable Paul G. Gardephe
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2204
 New York, New York 10007

                    Re:   Jessica Denson v. Donald J. Trump for President, Inc.
                          United States District Court, Southern District of New York
                          Civil Action No. 20-cv-04737 (PGG)

 Dear Judge Gardephe:

        We represent defendant Donald J. Trump for President, Inc. (the “Campaign”) and write to briefly
 respond to plaintiff’s October 14, 2020 letter regarding an article written by The New York Times, which
 she purports to be “relevant” to the parties’ pending motions.

         Putting aside the propriety of plaintiff’s letter with fully-briefed dispositive motions pending before
 the Court, plaintiff continues to ignore the fundamental flaw of her standing argument, to wit, that she, as
 the sole class representative, must demonstrate individual standing for her lawsuit. She cannot meet this
 burden by relying on a dispute that some third-party, such as Omarosa Manigault Newman, may have with
 the Campaign. Indeed, the simple facts here are that Ms. Denson cannot identify any live dispute that she
 has with the Campaign, especially where she has been freely criticizing the Campaign and President Trump
 on social media for years and the Campaign has not taken—and, indeed, has stated that it will not take—
 any action against her for expressing any of these negative opinions or critical views.

                                                              Respectfully submitted,

                                                              /s/ Patrick McPartland

                                                              Patrick McPartland

 cc:      Counsel of record (via ECF)
